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                                                     Tuesday, 05 February, 2019 12:00:27 PM
                                                               Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS
                       PEORIA DIVISION

STEVEN R. LISCANO,                  )
                                    )
                  Petitioner,       )
                                    )
            v.                      )     Case No. 17-cv-1449
                                    )
STEVE KALLIS, Warden                )
                                    )
                  Respondent.       )


                                  ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

      This matter is before the Court on Petitioner Steven R.

Liscano’s (hereinafter “Petitioner” or “Liscano”) Petition for Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241 (Doc. 1). For the

reasons stated below, Petitioner’s Petition (Doc. 1) is DISMISSED

with prejudice pursuant to § 2255(e).

                            I. BACKGROUND1

      In June 2003, a jury in the United States District Court for

the Northern District of Illinois found Liscano guilty of knowingly


1As dictated by the analogous federal habeas corpus rules for proceedings
under 28 U.S.C. § 2254 and § 2255, the facts recounted here are taken from
Respondent’s Response to the Petition, (Doc. 9), unless otherwise noted. See
28 U.S.C. § 2248.
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participating in a conspiracy to distribute and possess with intent

to distribute in excess of five kilograms of cocaine in violation of 21

U.S.C. § 846. See United States v. Liscano, No. 02-CR-719-16,

Presentence Report at pp. 2 (filed at Doc. 11).

     Pursuant to 21 U.S.C. § 851, the government filed notice of

intent to rely on Liscano’s prior convictions at sentencing. These

included a 1995 conviction of possession of a controlled substance

in Kane County, Illinois, in violation of 720 ILCS 570/402(c), and a

June 2001 conviction for possession of a controlled substance in

Kane County, Illinois, in violation of 720 ILCS 570/402(c). In both

instances, the charging documents alleged that Liscano “knowingly

and unlawfully possessed less than 15 grams of a substance

containing cocaine, a controlled substance.”

     While both convictions were under the same statute, between

his 1995 conviction and his 2001 conviction the statute was

amended to include the following language: “A violation of this Act

with respect to each of the controlled substances listed herein

constitutes a single and separate violation of this Act.” 720 ILCS

570/402 (2000). The 1995 statute under which Liscano was

convicted provided, “[e]xcept as otherwise authorized by this Act, it
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is unlawful for any person knowingly to possess a controlled or

counterfeit substance.” 720 ILCS 570/402 (1995). The 1995

statute then set different penalties for differing amounts of cocaine

starting at 15 grams. 720 ILCS 570/402(a)(2)(A) (1995).

Possession of less than 15 grams, however, fell into subsection (c),

which provided, “[a]ny person who violates this Section with regard

to an amount of a controlled or counterfeit substance not set forth

[in the other sections] is guilty of a class 4 felony.” The sentencing

court found that these two prior convictions were felony drug

offense convictions.

     Due to the drug weight involved and Liscano’s two prior felony

drug offense convictions, he faced a mandatory life sentence

pursuant to 21 U.S.C. § 841(b)(1)(A). The district court sentenced

him to life, and the Seventh Circuit affirmed the district court’s

judgment on appeal. United States v. Bustamante, 493 F.3d 879,

882 (7th Cir. 2007).

     Liscano filed a motion to vacate his sentence pursuant to 28

U.S.C. § 2255 in March 2009, arguing various claims of ineffective

assistance of counsel. The district court denied his motion on July



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18, 2011. The Seventh Circuit denied his request for a certificate

of appealability.

     Liscano filed the instant Petition (Doc. 1) pursuant to 28

U.S.C. § 2241, arguing that his 1995 predicate offense should not

have counted as a prior felony drug offense in light of the Supreme

Court’s decision in Mathis v. United States, 136 S.Ct. 2243 (2016).

Respondent filed a Response (Doc. 9), and Liscano filed his Reply

(Doc. 12). This Order follows.

                      II. LEGAL STANDARD

     Generally, federal prisoners who seek to collaterally attack

their conviction or sentence must proceed by way of motion under

28 U.S.C. § 2255, the so-called “federal prisoner’s substitute for

habeas corpus.” Camacho v. English, 16-3509, 2017 WL

4330368, at *1 (7th Cir. Aug. 22, 2017) (quoting Brown v. Rios,

696 F.3d 638, 640 (7th Cir. 2012)). The exception to this rule is

found in § 2255 itself: a federal prisoner may petition under § 2241

if the remedy under § 2255 “is inadequate or ineffective to test the

legality of his detention.” 28 U.S.C. § 2255(e). Under the “escape

hatch” of § 2255(e), “[a] federal prisoner should be permitted to

seek habeas corpus only if he had no reasonable opportunity to
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obtain earlier judicial correction of a fundamental defect in his

conviction or sentence because the law changed after his first 2255

motion.” In re Davenport, 147 F.3d 605, 611 (7th Cir. 1998).

Thus, the Seventh Circuit has held that “alternative relief under

§ 2241 is available only in limited circumstances: specifically, only

upon showing “(1) that he relies on ‘not a constitutional case, but a

statutory-interpretation case, so [that he] could not have invoked it

by means of a second or successive section 2255 motion,’ (2) that

the new rule applies retroactively to cases on collateral review and

could not have been invoked in his earlier proceeding, and (3) that

the error is ‘grave enough ... to be deemed a miscarriage of justice

corrigible therefore in a habeas corpus proceeding,’ such as one

resulting in ‘a conviction for a crime of which he was innocent.’”

Montana v. Cross, 829 F.3d 775, 783 (7th Cir. 2016), cert. denied

sub nom. Montana v. Werlich, 137 S. Ct. 1813, 197 L. Ed. 2d 758

(2017) (citing Brown v. Rios, 696 F.3d 638, 640 (7th Cir. 2012)).

     The “second condition has two components: retroactivity and

prior unavailability of the challenge.” Montana, 829 F.3d at 784.

And this “second prong” of the “second condition” “is satisfied if ‘[i]t

would have been futile’ to raise a claim in the petitioner’s original
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‘section 2255 motion, as the law was squarely against him.’” Id.

(citing Webster v. Daniels, 784 F.3d 1123, 1136 (7th Cir. 2015) (en

banc)).

                         III. DISCUSSION

     Respondent argues that Petitioner has failed to meet the

requirements to proceed under the § 2255(e) savings clause.

Specifically, Respondent argues that Mathis v. United States, 136

S.Ct. 2243 (2016), did not announce a new rule that applies

retroactively, that Liscano’s claim was not previously unavailable,

and that he has not shown a miscarriage of justice. There does

not appear to be any doubt that Liscano meets the first condition

of the test, as Mathis is a statutory interpretation case. However,

the Court agrees with Respondent that Mathis did not announce a

new retroactive rule and that Liscano’s Mathis-type argument was

available to him during his direct appeal and initial § 2255 motion.

Accordingly, the Petition must be DISMISSED with prejudice

pursuant to § 2255(e).

     A. Mathis is Not Retroactive.

     The Seventh Circuit has not directly addressed the issue of

whether Mathis announced a new rule that applies retroactively,
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and district courts in the Seventh Circuit are split on the issue.

Compare, e.g., Pulliam v. Krueger, No. 16-cv-1379-JES, 2017 WL

104184 (C.D. Ill. Jan. 10, 2017) (finding that Mathis was new and

retroactive for purposes of meeting the § 2255(e) savings clause)

Wadlington v. Werlich, No. 17–CV–449, 2017 WL 3055039, at *3

(S.D. Ill. July 17, 2017) (same); Winters v. Krueger, No.

217CV00386, 2018 WL 2445554, at *2 (S.D. Ind. May 31, 2018)

(same); with Neff v. Williams, No. 16–CV–749, 2017 WL 3575255,

at *2 (W.D. Wis. Aug. 17, 2017) (Mathis “merely reaffirmed its 1990

holding in Taylor”); Robinson v. Krueger, No. 1:17–CV–01187, 2017

WL 2407253, at *5 (C.D. Ill. June 2, 2017) (same).

     “[A] case announces a new rule if the result was not dictated

by precedent existing at the time the defendant's conviction

became final.” Teague v. Lane, 489 U.S. 288, 301 (1989) (emphasis

in original). This Court has previously found that Mathis did not

announce a new rule that must apply retroactively for the purposes

of the § 2255(e) test. See Bassham v. Kallis, 18-cv-1285 (C.D. Ill.

Jan. 8, 2019). See also Brooks v. United States, No. 17-2168,

2017 WL 3315266, at *3–4 (C.D. Ill. Aug. 3, 2017) (finding that

Mathis did not apply retroactively for the purposes of § 2255(f)(3),
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which requires a new retroactive rule to meet the one-year deadline

to file an initial motion under § 2255). The Court’s prior holdings

relied on the language in Mathis, which appears to contradict any

assertion that Mathis announced a new rule:

     Our precedents make this a straightforward case. For
     more than 25 years, we have repeatedly made clear that
     application of ACCA involves, and involves only,
     comparing elements. Courts must ask whether the
     crime of conviction is the same as, or narrower than, the
     relevant generic offense. They may not ask whether the
     defendant's conduct—his particular means of
     committing the crime—falls within the generic definition.
     And that rule does not change when a statute happens
     to list possible alternative means of commission:
     Whether or not made explicit, they remain what they
     ever were—just the facts, which ACCA (so we have held,
     over and over) does not care about.

Mathis, 136 S. Ct. at 2257. Therefore, the Court agrees with the

Respondent and finds that Mathis is not a new rule that applies

retroactively. Accordingly, Liscano’s claim fails to meet the first

prong of the second condition to fall within the § 2255(e) savings

clause.

     B. Liscaro’s Mathis-Type Argument was Not Previously

          Unavailable.

     Liscano has also failed to show that his claim was “previously

unavailable” to him—the second prong of the second condition to
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fall within the § 2255(e) savings clause. A claim is previously

unavailable “if ‘[i]t would have been futile’ to raise a claim in the

petitioner’s original “section 2255 motion, as the law was squarely

against him.” Montana, 829 F.3d at 784 (citing Webster, 784 F.3d

at 1136). See also, Morales v. Bezy, 499 F.3d 668, 672 (7th Cir.

2007) (“Only if the position is foreclosed (as distinct from not being

supported by—from being, in other words, novel) by precedent ...”

can a petitioner satisfy the second prong of the test); Ojeda v.

Williams, 734 F. App’x 370, 372 (7th Cir. 2018) (denying

petitioner’s Mathis-based § 2241 petition because “as a formal

matter” the petitioner’s Mathis-type argument “could have been

raised on direct appeal or in a § 2255 motion within one year of

[petitioner’s] 2002 sentence”).

     Liscano points to the Seventh Circuit case of United States v.

Shannon, 110 F.3d 382 (7th Cir. 1997), as evidence that his

argument was foreclosed during his direct appeal and initial

§ 2255 proceeding. In Shannon, the Seventh Circuit held that

sexual intercourse with a 13-year old was a crime of violence. Id.

Liscano does not explain how this case would have foreclosed his



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argument that his prior drug offense was not categorically a felony

drug offense, nor how it relates to his argument at all.

     Further, in a recent case the Seventh Circuit noted that

“[d]etermining whether a given state conviction qualifies as a felony

drug offense under § 802(44) . . . is a question of first impression

for this court.” United States v. Elder, 900 F.3d 491, 498 (7th Cir.

2018). Given that the Seventh Circuit had not determined whether

the categorical approach even applied to the definition of a felony

drug offense, it is unclear how Liscano’s more specific argument

could have been foreclosed by “binding circuit precedent.”

Accordingly, the Court finds that Liscano has not shown that his

claim was previously unavailable. As his claim meets neither of

the prongs for the second condition for falling within the § 2255(e)

savings clause, this Court does not have jurisdiction over his

§ 2241 Petition and it must be dismissed.

     C. The Court Declines to Determine Whether There Has

        Been a Miscarriage of Justice.

     Because the Court finds that the Petition must be dismissed

under the second condition, the Court declines to consider

whether there has been a miscarriage of justice. However, the
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Court notes that Seventh Circuit precedent decided after the

briefing in this case repudiates the Government’s argument that a

“felony drug offense” for the purpose of the § 841(b)(1)(A)

enhancement, as defined at 21 U.S.C. § 802(44), should be read to

include any statute that relates to a listed substance, and

indicates that Petitioner’s 1995 conviction is not a “felony drug

offense.” See United States v. Elder, 900 F.3d 491, 498 (7th Cir.

2018) (instructing courts to use the categorical approach to

determine whether a state law drug conviction is a “felony drug

offense” under § 802(44), and finding a similar indivisible state

statute to not qualify as a felony drug offense). However, whether

or not this error amounts to a miscarriage of justice, the Court

does not have jurisdiction to address it under § 2241.

                            IV. CONCLUSION

     For the reasons stated above, Petitioner’s Petition for Writ of

Habeas Corpus (Doc. 1) is DISMISSED with prejudice pursuant to

§ 2255(e). This case is CLOSED.



ENTER: February 5, 2019

FOR THE COURT:
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                       s/ Sue E. Myerscough
                       SUE E. MYERSCOUGH
                       UNITED STATES DISTRICT JUDGE




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